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                                                                   FILED
                                                             U.S. DISTRICT COURI
                IN THE UNITED STATES DISTRICT COURT            SAVANNAH DIV.

               FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                            2018 JUL-2 PM U'-OS

                           SAVANNAH DIVISION               CLERK
                                                               SO.DIST/OF GA.


THE UNITED STATES OF AMERICA,


              Plaintiff,


                V.                          4:18CR84


YOSIEL PEGO MIRABAL,


              Defendant,




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




                           J
     SO ORDERED, this 2^ day of July, 2018.




                                UNITED STATES MAGISTRATE JUDGE
                               SOUTHERN DISTRICT OF GEORGIA
